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 1                             UNITED STATES DISTRICT COURT
 2                            WESTERN DISTRICT OF WASHINGTON
                                     SEATTLE DIVISION
 3

 4   Kristine Ray                                          Case No.

 5            Plaintiff,
 6
     v.                                                       COMPLAINT FOR DAMAGES
 7                                                         UNDER THE FAIR DEBT COLLECTION
     Medicredit, Inc.                                         PRACTICES ACT AND OTHER
 8                                                                EQUITABLE RELIEF
              Defendant.
 9

10                                                          JURY DEMAND ENDORSED HEREIN

11

12
                                                       PARTIES
13

14   1. Plaintiff is a natural person who resided in Clinton, WA at all times relevant to this action.

15   2. Defendant is a Missouri corporation that maintained its principal place of business in St. Louis,
16
          MO at all times relevant to this action.
17
                                           JURISDICTION AND VENUE
18
     3.   Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it
19

20        arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

21   4.   Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events giving
22
          rise to this claim occurred in this judicial district.
23
                                               STATEMENT OF FACTS
24
     5. At all times relevant to this action, Defendant engaged in the business of consumer debt
25

26        collection.

27

28
     Complaint                                         1                 Macey Bankruptcy Law, P.C.
                                                                           600 Stewart St., Suite 720
                                                                                  Seattle, WA 98101
                                                                                     (866) 339-1156
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 1   6. Defendant regularly uses the telephone and mail to collect consumer debts that Defendant either
 2
        purchased or had been hired to collect.
 3
     7. The principal source of Defendant’s revenue is debt collection.
 4
     8. Defendant is a "debt collector” as defined by 15 U.S.C. §1692a(6).
 5

 6   9. As described below, Defendant contacted Plaintiff about an obligation that Plaintiff allegedly

 7      owed to Care Ambulance, which had been incurred for personal rather than commercial
 8
        purposes.
 9
     10. This alleged obligation is a “debt” as defined by 15 U.S.C. §1692a(5).
10
     11. As described below, Defendant attempted to collect the debt from Plaintiff, and in so doing, has
11

12      alleged that Plaintiff owed the debt.

13   12. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).
14
     13. On or around October 13, 2011, Plaintiff telephoned Defendant in response to a collection letter
15
        Plaintiff received and spoke with Defendant’s agent or employee named “Ezmi.” During this
16
        communication, Plaintiff requested the telephone number for Care Ambulance. Ezmi falsely
17

18      represented that Defendant had no way of contacting Care Ambulance. Plaintiff then asked if

19      Defendant was a collection agency. Ezmi emphatically stated that Defendant was not a collection
20
        agency. Ezmi then contradicted the earlier statement by falsely representing that Defendant was
21
        a department of Care Ambulence. At no time during this communication did Defendant state or
22
        admit that Defendant was a debt collector calling in connection with the collection of a debt.
23

24   14. During this communication, Plaintiff attempted to explain that Plaintiff had insurance that

25      covered the alleged debt. Ezmi yelled at Plaintiff and falsely represented that it was too late for
26
        Plaintiff to bill her insurance.
27

28
     Complaint                                    2                     Macey Bankruptcy Law, P.C.
                                                                          600 Stewart St., Suite 720
                                                                                 Seattle, WA 98101
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 1   15. During this communication, Plaintiff explained that a bill was never received at the address
 2
        Defendant had on file. Ezmi responded by shouting that Plaintiff could not receive bills because
 3
        Plaintiff was homeless.
 4
     16. On or around October 18, 2011, Defendant’s agent or employee Anthony telephoned Plaintiff in
 5

 6      connection with the collection of the debt.

 7   17. During this communication, Anthony stated that he had just contacted Care Ambulance,
 8
        contradicting Ezmi’s earlier statement that Defendant had no way of contacting Care
 9
        Ambulance.
10
     18. Plaintiff suffers from psychological, nervous, and neurological disorders that were exacerbated
11

12      by Defendant’s actions.

13   19. Defendant caused Plaintiff emotional distress.
14
     20. Defendant violated the FDCPA.
15
                                                  COUNT ONE
16
                              Violation of the Fair Debt Collection Practices Act
17

18   21. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations or

19      means in connection with the collection of the debt.
20
     22. In support hereof, Plaintiff incorporates paragraph 13, 16-17 as if specifically stated herein.
21
                                                 COUNT TWO
22
                              Violation of the Fair Debt Collection Practices Act
23

24   23. Defendant violated 15 U.S.C. §1692e11 by failing to disclose that the communication is from a

25      debt collector in connection with the collection of the debt.
26
     24. In support hereof, Plaintiff incorporates paragraph 13 as if specifically stated herein.
27
                                                COUNT THREE
28
     Complaint                                     3                     Macey Bankruptcy Law, P.C.
                                                                           600 Stewart St., Suite 720
                                                                                  Seattle, WA 98101
                                                                                     (866) 339-1156
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 1                            Violation of the Fair Debt Collection Practices Act
 2
     25. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of which
 3
         is to harass, oppress, or abuse any person in connection with the collection of the debt.
 4
     26. In support hereof, Plaintiff incorporates paragraph 15 as if specifically stated herein.
 5

 6

 7                                               JURY DEMAND
 8
     27. Plaintiff demands a trial by jury.
 9
                                              PRAYER FOR RELIEF
10
     28. Plaintiff prays for the following relief:
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12               a. Judgment against Defendant for actual damages, statutory damages, and costs and

13                   reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.
14
                 b. For such other legal and/or equitable relief as the Court deems appropriate.
15

16
                                                     RESPECTFULLY SUBMITTED,
17

18                                                   Macey Bankruptcy Law, P.C.

19                                                   By:     /s/ Mona Lisa C. Gacutan
                                                     Mona Lisa C. Gacutan
20
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24                                                   Attorney for Plaintiff

25

26

27

28
     Complaint                                       4                   Macey Bankruptcy Law, P.C.
                                                                           600 Stewart St., Suite 720
                                                                                  Seattle, WA 98101
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